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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                         Case No. 21-cv-22280-BLOOM/Otazo-Reyes

 EMIN GÜN SIRER,

        Plaintiff,

 v.

 EMRE AKSOY,

       Defendant.
 _____________________/

                ORDER ON MOTION TO FILE SELECT PORTIONS
      OF PLAINTIFF’S MOTION FOR DEFAULT FINAL JUDGMENT UNDER SEAL

        THIS CAUSE is before the Court upon Plaintiff Emin Gün Sirer’s (“Plaintiff”) Motion to

 File Select Portions of Plaintiff’s Motion for Default Final Judgement Under Seal, ECF No. [63]

 (“Motion”). The Court has considered the Motion and is otherwise fully advised in the premises.

 Accordingly, it is ORDERED AND ADJUDGED that the Motion, ECF No. [63], is GRANTED as

 follows:

        1. Plaintiff may file unredacted copies of ECF Nos. [64], [64-3], and [64-8] under seal.

        2. The documents shall remain under seal until further order of the Court.

        DONE AND ORDERED in Chambers at Miami, Florida, on September 7, 2022.




                                                    _________________________________
                                                    BETH BLOOM
                                                    UNITED STATES DISTRICT JUDGE
 Copies to:     Counsel of record

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